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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


In re:                                                     Chapter 7
                                                           Case No. 18-11535 (LSS)
THE ART INSTITUTE OF PHILADELPHIA
LLC, et al.,                                               (Jointly Administered)
                      Debtors.


GEORGE L. MILLER, Chapter 7 Trustee,

                                 Plaintiff,                JURY TRIAL DEMANDED

                        – against –
                                                           Adversary Proceeding
TODD S. NELSON, JOHN R. McKERNAN,                          No. 20-50627 (LSS)
SAMUEL C. COWLEY, EDWARD WEST,
MARK A. McEACHEN, FRANK JALUFKA,
J. DEVITT KRAMER, MARK NOVAD, JOHN
DANIELSON, AND MICK BEEKHUIZEN,


                                  Defendants.


         STIPULATION EXTENDING THE TIME FOR DEFENDANTS TO
         ANSWER, MOVE, OR OTHERWISE RESPOND TO COMPLAINT

         Plaintiff George L. Miller (the “Plaintiff”) and defendants Todd S. Nelson, John R.

McKernan, Samuel C. Cowley, Edward West, Mark A. McEachen, Frank Jalufka, J. Devitt

Kramer, Mark Novad, John Danielson, and Mick Beekhuizen (the “Defendants), by and through

their undersigned counsel, hereby stipulate and agree as follows:

         1.      On June 17, 2020, the Plaintiff filed the Complaint commencing the above-

captioned adversary proceeding;

         2.      Each of the Defendants hereby acknowledges service of the Complaint.




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        3.       The Plaintiff and the Defendants agree that the date by which each Defendant shall

be required to answer, move, or otherwise respond to the Complaint (the “Answer Deadline”) is

September 14, 2020.

        4.       The parties further agree that the date by which the Plaintiff shall file his opposition

to any motion filed in response to the Complaint filed by the Defendant shall be November 13,

2020.

        5.       The parties further agree that the date by which each Defendant shall file his reply

in further support of any motion filed in response to the Complaint shall be December 14, 2020.

        6.       This stipulation is without prejudice to an application for, or stipulation to, a further

extension of the Answer Deadline for Defendants.



Dated: August 11, 2020                               Dated: August 11, 2020

PACHULSKI STANG ZIEHL &                              RICHARDS, LAYTON & FINGER PA
  JONES LLP


 /s/ Colin R. Robinson
__________________________                            /s/ Marcos A. Ramos
                                                     __________________________
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Counsel for George L. Miller,                        Counsel for Defendants Todd S. Nelson,
Chapter 7 Trustee                                    Sam Cowley, John R. McKernan,
                                                     Edward West, and Mick Beekhuizen




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Dated: August 11, 2020

YOUNG CONAWAY STARGATT &
  TAYLOR, LLP


 /s/ Sean M. Beach
__________________________
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Kramer, and Mark Novad




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